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                    6

                    7                                   UNITED STATES DISTRICT COURT
                    8                                  EASTERN DISTRICT OF CALIFORNIA
                    9
                          CALIFORNIA DAIRIES, INC., a                          Case Number 1:08-CV-00790 OWW-GSA
                  10      California corporation,
                  11                      Plaintiff,                           ORDER RESCHEDULING
                                                                               PLAINTIFF, CALIFORNIA DAIRIES,
                  12              v.                                           INC. RELIEF FROM DISCOVERY
                                                                               DEADLINE FOR NON-EXPERT
                  13      RSUI Indemnity Company                               DISCOVERY
                  14                      Defendant.
                  15

                  16              Having considered Plaintiff’s ex parte application for an order granting relief from the
                  17      discovery deadline for non-expert discovery.
                  18              IT IS HEREBY ORDERED that Plaintiff shall supplement its application with Federal Rule
                  19      of Civil Procedure, 16 authorities by February 3, 2010. Defendant shall file objections by February
                  20      8, 2010. The matter shall be heard February 11, 2010 at 12:00PM in Courtroom 3.
                  21

                  22              Dated: January 29, 2010                           /s/ OLIVER W. WANGER
                                                                                    United States Senior District Court Judge
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                          C:\WINDOWS\Temp\notes101AA1\exparte.ORDER.relief.discovery.wpd
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